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                                           United States Bankruptcy Court
                                                            District of Nevada
                                                          Case No. 09−31139−lbr
                                                               Chapter 13
In re: (Name of Debtor)
    LANCE REED ATCHISON                                                   CHERYL LOUISE ATCHISON
    4851 VILLA CARMEN CIRCLE                                              4851 VILLA CARMEN CIRCLE
    NORTH LAS VEGAS, NV 89031                                             NORTH LAS VEGAS, NV 89031
Social Security No.:
   xxx−xx−8523                                                            xxx−xx−9411


                     DISCHARGE OF DEBTOR AFTER COMPLETION OF CHAPTER 13 PLAN

 The Court finds that the debtor filed a petition under Title 11, United States Code, on 11/6/09, that the debtor's plan has been confirmed, and
that the debtor has fulfilled all requirements under the plan.
IT IS HEREBY ORDERED THAT:
1. Pursuant to 11 U.S.C. Section 1328(a), the debtor is discharged from all debts provided for by the Plan or disallowed under 11 U.S.C.
Section 502, except any debt:
     a.   provided for under 11 U.S.C. Section 1322(b)(5), and on which the last payment is due after the date on which the
          final payment under the Plan was due;
     b.   in the nature of a domestic support obligation, as specified in 11 U.S.C. Section 523(a)(5);
     c.   for a student loan or educational benefit overpayment as specified in 11 U.S.C. Section 523(a)(8);
     d.   for a death or personal injury caused by the debtor's unlawful operation of a motor vehicle, vessel, or aircraft
          while intoxicated from using alcohol, a drug, or another substance, as specified in 11 U.S.C. Section 532(a)(9);
     e.   for restitution included in a sentence on the debtor's conviction of a crime, in a case commenced on or after November 15, 1990;
     f.   for a fine included in a sentence on the debtor's conviction of a crime, in a case commenced on or after October 22, 1994;
     g.   for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or willful injury by the debtor
          that caused personal injury to an individual or the death of an individual, in a case commenced on or after
          October 17, 2005; or
     h.   for certain taxes to the extent not paid in full under the plan, in a case commenced on or after October 17, 2005.
2. Pursuant to 11 U.S.C. Section 1328(d), the debtor is not discharged from any debt based on an allowed claim filed under 11 U.S.C.
Section 1305(a)(2) if prior approval by the Trustee of the debtor's incurring such debt was practicable and was not obtained.
3. Notwithstanding the provisions of Title 11, United States Code, the debtor is not discharged from any debt made nondischargeable by 18
U.S.C. Section 3613(f), by certain provisions of Titles 10, 37, 38, 42, and 50 of the United States Code, or by any other applicable provision
of law.
4.   All creditors are prohibited from attempting to collect any debt that has been discharged in this case.


Dated: 9/26/13                                                            BY THE COURT




                                                                          Mary A. Schott
                                                                          Clerk of the Bankruptcy Court
